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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION



     FINANCIAL INFORMATION
     TECHNOLOGIES, LLC,

           Plaintiff,

     v.                                             CASE NO. 8:17-cv-190-T-23SPF

     ICONTROL SYSTEMS, USA, LLC,

           Defendant.
     __________________________________/


                                          ORDER

           iControl moves (Doc. 295) to extend the stay of execution (Doc. 291).

     To permit additional time to resolve Fintech’s renewed motion for a permanent

     injunction, iControl’s motion (Doc. 295) is GRANTED-IN-PART. Execution and

     levy are STAYED through NOVEMBER 6, 2020.

           ORDERED in Tampa, Florida, on October 28, 2020.
